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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 18-20957-CIV-ALTONAGA/Goodman

  RUBY SOSA,

          Plaintiff,
  v.

  CARNIVAL CORPORATION,

        Defendant.
  ___________________________/

                                                   ORDER

          THIS CAUSE came before the Court at a January 3, 2019 Hearing [ECF No. 104] on

  Defendant’s Motion to Strike Plaintiff’s Expert [ECF No. 85]; Plaintiff’s Motion in Limine

  [ECF No. 83]; Defendant’s Omnibus Motion in Limine [ECF No. 87]; and Defendant’s

  Objection of Magistrate Judge Order on Motion for Sanctions [ECF No. 96]. For the reasons

  stated in open court, it is

          ORDERED AND ADJUDGED as follows:

              1. Defendant’s Motion to Strike Plaintiff’s Expert [ECF No. 85] is DENIED.

                  Should Plaintiff wish to have Dr. Fulp testify at trial, Plaintiff shall make Dr. Fulp

                  available for deposition at a mutually convenient date and time before trial.

                  Plaintiff shall bear the costs for the deposition.

              2. Plaintiff’s Motion in Limine [ECF No. 83] is GRANTED in part and DENIED

                  in part as follows:

                       a. Plaintiff’s Motion is DENIED as to Defendant’s expert’s testimony that

                          Plaintiff’s   surgical     recommendations      are    “inappropriate”     or

                          “unnecessary.”
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                 b. Plaintiff’s Motion is DENIED as to evidence regarding Plaintiff’s

                    smoking and alcohol consumption.

                 c. Plaintiff’s Motion is DENIED as to evidence regarding Defendant’s

                    experts’ hearsay testimony as described in the Motion.

                 d. Plaintiff’s Motion is DENIED as to evidence regarding whether Plaintiff’s

                    treating physicians used Letters of Protection.

                 e. Plaintiff’s Motion is DENIED as to testimony or argument regarding

                    whether eyewitnesses were paid for their testimony.

                 f. Plaintiff’s Motion is GRANTED in part. Defendant is precluded from

                    referencing, insinuating, or arguing that any of Plaintiff’s employees were

                    undocumented immigrants. Defendant’s counsel may question Plaintiff

                    outside the jury’s presence regarding her possible employment of

                    undocumented immigrants.

                 g. Plaintiff’s Motion is DENIED as to Mr. Djusic’s testimony at trial.

                    Should Defendant wish to have Mr. Djusic testify at trial, it shall make

                    him available for deposition at a mutually convenient time and date before

                    trial. Defendant shall bear the costs for the deposition.

           3. Defendant’s Omnibus Motion in Limine [ECF No. 87] is GRANTED in part

              and DENIED in part as follows:

                 a. The Motion is DENIED without prejudice as to evidence, testimony, or

                    argument regarding Plaintiff’s spoliation claim. The request is premature;

                    Judge Goodman’s Order [ECF No. 82] instructs Plaintiff to decide

                    whether she intends to admit spoliation evidence by February 5, 2019.

                    (See id. 50).

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                 b. The Motion is DENIED as to specific references to a purported leaking

                     ceiling to show Defendant was on notice. Plaintiff may not admit this

                     testimony for the truth of the matter asserted. Defendant may supply the

                     Court with a sample curative jury instruction limiting the admissibility of

                     the testimony.

                 c. The Motion is DENIED without prejudice as to evidence of the four

                     alleged prior incidents.       Should Defendant continue to doubt the

                     substantial similarity of the prior incidents, it may provide additional

                     evidence uniquely in its custody and possession for the Court’s review in

                     camera. At that point, the Court may reconsider this holding.

                 d. The Motion is DENIED as to references to amounts billed or paid by

                     collateral sources as it is expressly foreclosed by the parties’ agreement as

                     set forth in the June 6, 2018 Order [ECF No. 22].

                 e. The Motion is DENIED as to evidence referencing Plaintiff’s financial

                     resources to the extent it would respond to Defendant’s evidence

                     regarding Plaintiff’s entry into Letters of Protection with her treating

                     physicians.

                 f. The Motion is GRANTED as to evidence referencing Defendant’s

                     financial wealth or disparity in resources.

                 g. Defendant’s unopposed requests for relief were unnecessarily included in

                     the Motion and consequently not addressed at the hearing (see Mot. 14–

                     18).

           4. Defendant’s Objections to Order on Plaintiff’s Spoliation Sanctions Motion

              [ECF No. 96] is DENIED without prejudice. Should Defendant wish to file a

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                motion for reconsideration before Magistrate Judge Goodman, it may request

                such relief from Judge Goodman directly.

        DONE AND ORDERED in Miami, Florida, this 3rd day of January, 2019.



                                                      _________________________________
                                                      CECILIA M. ALTONAGA
                                                      UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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